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EXHIBIT A
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
NATALIE REESER,
Case No. 2:14-cv-11916-GCS-MJH
Plaintiff, Hon. George Caram Stech
Vv
HENRY FORD HOSPITAL,
Defendant.
MILLER COHEN, P.L.C. VARNUM LLP
Keith D. Flynn (P74192) Terrance J. Miglio (P30541)
Adam C. Graham (P79361) Barbara E. Buchanan (P55084)
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PROPOSED AMENDED COMPLAINT
AND DEMAND FOR JURY TRIAL

There is no other civil action pending
in this Honorable Court or any
other Court arising out of the
same transaction and occurrence.
NOW COMES Plaintiff, NATALIE REESER, by and through her attorneys,
Miller Cohen, P.L.C., and for her Complaint against Defendant HENRY FORD
HEALTH SYSTEM d/b/a HENRY FORD HOSPITAL (hereinafter referred to as

“Defendant”, “Henry Ford”, or “Henry Ford Hospital’), states as follows:
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INTRODUCTION

1, Plaintiff was discharged for reporting her employer to the State of
Michigan for forcing its employees to work during their unpaid lunches in violation
of the Fair Labor Standards Act (FLSA), 29 U.S.C. § 201 ef seg.. Her direct
supervisor specifically threatened that Plaintiff would be terminated for reporting
her and the Defendant. Plaintiff was discharged for abandoning her job to go to
lunch, even though Defendant had changed its policies to require employees to take
a mandatory un-paid lunch due to Plaintiff's reports. Plaintiff has filed this complaint
seeking relief under the section 215(a)(3) of the FLSA as well as under the Michigan
Whistleblower Protection Act (WPA), MCL §15.361 et seq., including back-pay,
front-pay, emotional damages, punitive damages, attorney fees, and interest for
being wrongfully terminated for just doing the right thing and asserting her rights.

PARTIES

2. Natalie Reeser is an individual residing in Macomb County, Michigan.

3. Henry Ford Hospital is a for-profit corporation headquartered and
doing business in Wayne County, Michigan.

JURISDICTION AND VENUE

4, For the federal causes of action, jurisdiction is appropriate in this court

in accordance with 28 U.S.C. § 1331.
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5. For the state causes of action, supplemental jurisdiction is appropriate
under 28 U.S.C. § 1367.
6. Venue is appropriate in this Court in that all parties are located in the

Eastern District and all events in controversy took place in the Eastern District.

GENERAL ALLEGATIONS

7. Plaintiff incorporates by reference all preceding paragraphs.

8. Henry Ford Hospital operates a Clinton Township Outreach Lab
Service where Plaintiff was employed since May 16, 2011 as a phlebotomist. During
her employment, Plaintiff had strong performance reviews and would routinely
receive complements from her co-workers, supervisors, and patients.

9. During her employment, Plaintiff became aware that money was being
taken out of her paycheck for taking lunches, even though she was at the facility
performing her job duties. She was not paid anything — not even minimum wage —
for that period of time, even though she was forced to remain at the facility and work.

10. Plaintiff raised this concern to management throughout her
employment. For instance, Plaintiff discussed the matter with her supervisor, Lab
Sales Manager Fiona Bork, on or about January 10, 2014. Ms. Bork told her that she
was never going to be paid for the time she worked during her lunch and instructed

that she was to stop raising the issue or they would place Plaintiff at another site.
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11. Plaintiff was advised that it was illegal for Defendant not to pay her for
time she worked during her lunch. Plaintiff ultimately contacted the Department of
Licensing and Regulatory Affairs Wage and Hour Division.

12. On or about January 13, 2014, Plaintiff requested to have a meeting
with Human Resources regarding the lunch deductions.

13. On or about January 15, 2014, Plaintiff was told by Ms. Bork that she
had permission to meet with Human Resources during work hours on or about
January 17th and that Ms. Bork had informed another phiebotomist that she was
covering for Plaintiff's absence that day.

14. Plaintiff learned on or about January 17", that Ms. Bork did not arrange
for Plaintiff's coverage as was committed.

15. Plaintiff contacted Ms. Bork about this inconsistency and Ms. Bork
replied that she would be terminated for abandoning her job if she went to Human
Resources regarding the lunch pay that day.

16. Plaintiff sent a letter to the Semior Business Partner for Human
Resources, Jill Hood dated January 20, 2014 to raise her concerns regarding the
lunches. (Exhibit A) Specifically, she stated that the rights of her and her colleagues
under the Fair Labor Standards Act (FLSA), 29 U.S.C. § 201 et seg. were being

violated.
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17. Defendant’s Operations Manager, Martha Wiseheart, responded
regarding the unpaid compensable hours a week later in an email dated January 27,
2014, stating that Defendant would not pay Ms. Reeser for the lunches she had
worked. (Exhibit B)

18. Plaintiff responded to the January 27" email that same day stating that
this was illegal and that Ms. Bork had to pay her for the lunches where she worked.
(Exhibit B)

19. On February 18, 2014, Plaintiff sent a follow-up email notifying
Human Resources that she intended to report the violations of FLSA to the Michigan
Department of Licensing and Regulatory Affairs. (Exhibit C)

20. That evening, on February 18", Plaintiff received a call from Ms. Bork
chastising her about threatening to report to the State of Michigan regarding the
lunches.

21. During the February 18" call, Ms. Bork stated things like: “how dare
you tell Jill that you were filing with the state” and that Plaintiff had made a “big
mistake” and that “you think you’re going to help your co-workers by going to the
state, but all you’re going to do is get yourself terminated.”

22. Onor about February 25, 2014, Plaintiff filed a complaint with the State

of Michigan alleging violations of FLSA and retaliation. (Exhibit D)
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23. That same day, Ms. Bork called Plaintiff at work to inform her that she
was being transferred to a different site and that the move was permanent. Ms. Bork
then went on to chastise Plaintiff for reporting her to Human Resources and the State
of Michigan. In regards to Plaintiff's threatened report to the State, Ms. Bork stated
"good luck with that" and hung-up on Plaintiff.

24. Plaintiff was so emotional over the threatening and abusive phone call
that she broke down and requested to leave the facility for lunch to calm herself
down. She provided notice to Ms. Bork, the Operations Manager Martha Wischeart,
and the Scheduler Luain Hajjar that she was taking a lunch and none of them
objected. Plaintiff posted a note that stated she was gone for lunch pursuant to
Defendant’s policy.

25. Shortly after she returned from lunch, she was greeted by Ms. Bork and
two security guards who escorted her out of the facility and would not allow her to
take her possessions with her. She was told by Ms. Bork that she was being
suspended for abandoning her job. Since that time, Plaintiff has been terminated.

COUNT I

RETALIATION UNDER THE FAIR LABOR STANDARDS ACT

26. Plaintiff incorporates by reference all preceding paragraphs.
27. Section 215(a)(3) of the Fair Labor Standards Act (FLSA) provides that

“it shall be unlawful for any person ... to discharge or in any other manner
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discriminate against any employee because such employee has filed any complaint
or instituted or caused to be instituted any proceeding under or related to this Act....”
29 U.S.C. § 215(a) (3).

28. Plaintiff engaged in protected activity by asserting the rights of her and
her co-workers on numerous occasions to her supervisors, Human Resources, and to
the State of Michigan.

29. Defendant knew about Plaintiff exercising her rights based on several
verbal conversations with Defendant’s managerial agents and several emails and
pieces of correspondence that were exchanged by the parties to that effect.

30. Defendant terminated Plaintiff mere hours after her direct supervisor
threatened Plaintiff's employment over Plaintiff's protected activity.

WHEREFORE Plaintiff requests that this Honorable Court to grant her all
available compensatory damages, for economic injury, extreme mental and
emotional distress, humiliation, outrage, economic damages, loss of employment
opportunity, harm to reputation, loss of earning capacity, punitive damages, and
other legal and equitable damages; grant Plaintiff's reasonable attorney’s fees and
costs incurred in this litigation; and grant all such further relief available under the
Fair Labor Standards Act and any other such relief as would be fair and equitable

under the circumstances.
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COUNT Il

VIOLATION OF MICHIGAN’S WHISTLEBLOWER PROTECTION ACT

31. Plaintiff incorporates by reference all preceding paragraphs.

32. Plaintiff Reeser reported a suspected violation of law, regulation or
rule, promulgated by the state and federal governments, when she reported the
Defendant’s unscrupulous conduct in violating the rights of its employees under the
Fair Labor Standards Act (FLSA), 29 U.S.C. § 201 et seq..

33. Plaintiff reported these suspected violations of law to the State
Department of Licensing and Regulatory Affairs Wage and Hour Division, which is
a public body as defined under the Whistleblowers Protection Act.

34. Defendant had objective notice of Plaintiffs reports and attempted to
curtail her rights under the WPA by threatening Plaintiff's employment, engaging in
intimidation, transferring Plaintiff to a less preferred position, and finally
terminating her employment because of her reports.

WHEREFORE Plaintiff requests that this Honorable Court to grant her all
available compensatory damages, for economic injury, extreme mental and
emotional distress, humiliation, outrage, economic damages, loss of employment
opportunity, harm to reputation, loss of earning capacity, and other damages; grant

Plaintiff's reasonable attorney’s fees and costs incurred in this litigation; and grant
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all such further relief available under Michigan’s Whistleblower Protection Act and
any other such relief as would be fair and equitable under the circumstances.

PRAYER FOR RELIEF

WHEREFORE Plaintiff respectfully requests that this Honorable Court
order Defendant to return her property to her and grant her all available
compensatory damages for economic injury, extreme mental and emotional distress,
humiliation, outrage, economic damages, loss of employment opportunity, harm to
reputation, loss of earning capacity, punitive damages, and other damages; grant
Plaintiff's reasonable attorney’s fees and costs incurred in this litigation; and grant
all such further relief available and any other such relief as would be fair and
equitable under the circumstances.

Respectfully submitted,
MOLLER COHEN, P.L.C.

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

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NATALIE REESER,
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JURY DEMAND
Plaintiff demands a trial by jury.

Respectfully submitted,
MILLER COHEN, P.L.C.

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